   Case 5:17-cv-05059-JLV Document 1-1 Filed 07/24/17 Page 1 of 6 PageID #: 16




         IN THE UNITED STATES DISTRICT
    COURT DISTRICT OF SOUTH DAKOTA


AZAEL DYTHIAN PERALES et al..



                         (Plaintiffs)


                   Vs.




Judicial Council of California et al.,

Governmental Affairs

770 L Street, Suite 1240

Sacramento, CA 95814-3368



HON. TANI CANTIL-SAKAUYE e.g.

Chief Justice of California

Chair ofthe Judicial Council




MARTIN HOSHINO

Administrative Director




General Advocacy Cory Jasperson e.g.,
Laura Speed e.g.

Access to Justice/Self-represented Litigants -Alan Herzfeld e.g.
Appellate Law- Daniel Pone e.g
Bench-Bar Coalition - Laura Speed e.g.

Budget - Cory Jasperson e.g.
   Case 5:17-cv-05059-JLV Document 1-1 Filed 07/24/17 Page 2 of 6 PageID #: 17



Andi Liebenbaum e.g.
Civil Procedure - Daniel Pone e.g.
Communications Liaison - Laura Speed e.g.
Court Closures/Service Reduction - Laura Speed e.g.
Court Facilities - Cory Jasperson e.g.
Court Interpreters - Alan Herzfeld e.g.
Court Reporters - Alan Herzfeld e.g.
Court Security - Sharon Reilly e.g.
Criminal Procedure - Sharon Reilly e.g.
Day on the Bench - Laura Speed e.g.
Employment Issues (trial court labor, court staff, retirement- Laura Speed e.g.
Family Law - Alan Herzfeld e.g.
Fiscal Impact ofLegislation/Appropriations - Andi Liebenbaum e.g.
Judgeships and Subordinate Judicial Officers - Alan Herzfeld e.g.
Judicial Administration Fellowship Program - Laura Speed e.g.
Judicial Conduct - Laura Speed e.g.
Judicial Education- Laura Speed e.g.
Judicial Elections - Laura Speed e.g.
Judicial Service - Laura Speed e.g.
Jury Issues - Sharon Reilly e.g.

Daniel Pone e.g.


Juvenile Delinquency - Alan Herzfeld e.g.
Juvenile Dependency Alan Herzfeld e.g.
Probate and Mental Health Daniel Pone e.g.
Redistricting/Judicial Redistricting- Laura Speed e.g.
State Bar/Practice ofLaw - Daniel Pone e.g.
Traffic Law - Sharon Reilly e.g.
  Case 5:17-cv-05059-JLV Document 1-1 Filed 07/24/17 Page 3 of 6 PageID #: 18



& Andi Liebenbaum e.g.

California Supreme Court et al.,
350 McAllister St,
Room 1295
San Francisco, CA 94102

Chief Justice Tani Gorre Cantil-Sakauye e^gf
Honorable Kathryn M. Werdegar
Honorable Ming W.Chin
Honorable Carpi ArCorrigan
Honorable Goodwin H. Liu
Honorable Ma,riano-FlorentinoCuellar
Hohprable Leondra K


U.S. Department ofthe Treasury et al.,
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U.S. Department ofthe Treasury et al.,
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San Francisco, CA 94104

U.S. Department ofthe Treasury et al.,
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 Kyle Bambrough,-Lead Auditor
Frank O'Connor, Senior Auditor
Commissioner Office ofthe Commissioner- Attn: Chief ofStaff Chief Agency-Wide Shared
Services Director, Facilities Management and Security Services Director, Office of Audit
Coordination
   Case 5:17-cv-05059-JLV Document 1-1 Filed 07/24/17 Page 4 of 6 PageID #: 19



Gregory D. Kutz, Acting Deputy Inspector General for Inspections and Evaluations Phil
Shropshire, Director Heather Hill, Supervisory Evaluator Earl Charles Bumey,Lead Program
Analyst Gene Luevano, Senior Auditor
Commissioner C Office ofthe Commissioner- Attn: Chief of Staff C Deputy Commissioner for
Services and Enforcement SE Director, Collection, Small Business/Self-Employed Division
SE:S:C Director, Office of Audit Coordination OS:PPAC

U.S. Department Of The Treasury, Internal Revenue Service
Atlanta, GA 30308
Michael E. McKenney Deputy Inspector General for Audits
COMMISSIONER, WAGE AND INVESTMENT DIVISION


Kenneth C. Corbin, Commissioner-Wage and Investment Division
Russell P. Martin, Assistant Inspector General for Audit (Returns Processing and Account
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Lead Auditor Tracy M. Hernandez, Senior Auditor Lance J. Welling^ Information Technology
Specialist(Data Analytics) Nathan J. Cabello, Auditor
Commissioner Office ofthe Commissioner- Attn: Chief of StaffDeputy Commissioner for
Services and Enforcement Commissioner, Wage and Investment Division Director, Return
Integrity and Compliance Services, Wage and Investment Division Director, Submission
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& All Related Defendants

                                 (Defendants)
  Case 5:17-cv-05059-JLV Document 1-1 Filed 07/24/17 Page 5 of 6 PageID #: 20



                             JURISTICTION


               Article 3 Section 2 of The U»S. Constitution.
The judicial Power shall extend to all Cases, in Law and Equity, arising
under this Constitution, and the Laws of the United States.




Date: July 20. 2017                Signature.


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  Case 5:17-cv-05059-JLV Document 1-1 Filed 07/24/17 Page 6 of 6 PageID #: 21




          CONSTITUTIONAL AND STATUTORY
   PROVISIONS INVOLVED Article III, Section 2 of the U.S.

Constitution provides that "[Qhe judiciai Power shaii extend to ail Cases, in
Law and Equity, arising under * * * the Laws of the United States * * The
pertinent provisions of 42 U.S. Code § 1983 - Civii action for deprivation of
rights.

The mere statutory injury-in-iaw—standing alone—is sufficient to satisfy the
Articie III injury.




Date: Julv 20, 2017                     Signature,
                                                                 f
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